                    UNITED STATED DISTRICT COURT
                    EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

            Plaintiff,

      v.                              Case No. Case No. 2:25-Cr-89 LA


HANNAH C. DUGAN,

            Defendant.


                           DISCLOSURE STATEMENT


      To assist the Court with inquiries consistent with Criminal Local Rule 12.4,

the following information is submitted:

      (1) Full Name of Represented Party: Hannah C. Dugan

      (2) Corporation Ownership: Not Applicable

      (3) Names of law firms appearing, expected to appear, or who may appear:

            Steven Biskupic Law Office LLC
            Thiensville, WI

            Clement & Murphy, PLLC
            Washington, D.C.

            Strang Bradley, LLC
            Madison, WI

            Gimbel, Reilly, Guerin & Brown, LLP
            Milwaukee, WI
Dated this 14th day of May, 2025.


                               By: /s/ Steven M. Biskupic
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